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IN TH`E UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF 'I'EXAS

HOUSTON DIVISION

QUANTA SERVICES, INC. and §
QUANTA SERVICES OF CANADA LTD. §
§
Plaintiffs, §
§

v. § CIVIL AC'I`ION NO. 4:11-cv-02398
§

LIVELINE SOLUTIONS, INC., § JURY DEMANDED

LARRY EWERT and NATHAN EWERT, §
§
Defendants. §

Stipulation of Infringement and Final Judgment

By Order dated July 31, 2012, the Court construed the language of Claim l of United
States Patent No. 5,538,207 (the ’207 Patent). In light of the Court’s construction, defendant
Liveline Solutions, Inc., now stipulates and acknowledges infringement of the ’207 Patent and
wishes to dismiss (with prejudice) all claims alleged by it in this proceeding Specitically,
defendant Liveline So|utions, lnc, Larry Ewert and Nathan Ewert stipulate and acknowledge that
the ’207 Patent is valid and enforceable, that the sole inventors of the ‘207 Patent are Daniel N.
O’Connell and Clifford W. Devine and that the following products currently, and have since
their inception, infringe one or more claims of the ’207 Patent:

(l) models previously or currently designated as a PowerArm (inc|uding, without
limitation, PowerArm 138 HV, PowerArm 138 HD, PowerArm 115 HD,
PowerArm HV, PowerArm ST, PowerArm SubTrans, PowerArm 69 kV);

(2) models previously or currently designated as an Insulated Conductor Support Jibs
or ICSJ (including, without limitation, lCSJ-HA) that includes at least one
insulator positioned between a conductor holder and a boom or arm;

(3) models previously or currently designated as Flyin’ Hotstick units and that
include at least one insulator positioned between a conductor holder and a boom
or arm; and

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(4) models previously or currently designated as LineLifcer units and that include at
least one insulator positioned between a conductor holder and a boom or arm.

The Court ORDERS that these stipulations of in&ingement and acknowledgment of
validity and inventorship, BE and ARE HEREBY incorporated into this Final Judgment.

With this Stipulation of lnii'ingement by defendant, LiveLine Solutions, Inc., Larry
Ewert and Nathan Ewert, the parties have resolved all other claims and disputes in this matter. lt
is therefore ORDERED that all other claims and counterclaims alleged and sought in this matter
are dismissed with prejudice This dismissal with prejudice specifically includes dismissal of
each and every claim and counterclaim alleged by defendants in their First Amended Answer,
Aftirmative Defenses, and Counterclaims filed on June l4, 2012 in this matter, including claims
that the ‘207 Patent is invalid, unenforceable, or that the inventors engaged in inequitable
conduct in obtaining the patent. Accordingly, Defendants take nothing on all of their claims

alleged. Each party shall bear their own costs and attorney fees. This is a Final Judgment.

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Kenneth M. Hoyt
United States District Judge

 

 

